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Dorma Kay i\/I:~"'.Kin'n ex

l}i~itl'!'\'i l'[ct'.'\. l’»\'\.:a: C`\\‘;mt_'\.

 

CERTIFICATE
(F,ntire File)

STATE ()F TEXAS
COUNTY ()F BEXAR

I, Cynthia J. A}gonte, Deputy District C lerk t`or Donm: Ku_v M‘-`Ki)me_\" District Clerl< ot`
Bexar County, Texas, do herebyv certify that the documents found to be in Cause Nulnber 2016-(`1-
19682 and Styled C`ORNEI..IO GARC[A VS S'I`ARS'I`ONE NATIONAL INSURANCE
COMPANY ET AL filed in the 438th Judicial District Court oi" Bexar County, Texas. and Which
represents the content ot` the entire tile and certified as being held and recorded within the District

 

Clerk`S Ot`tice ot` Bexar (`ounty, Texas.

GIVEN UNDER MY HAND ANI) OFFICIAL SEAL ot`Said court at the office in the City

of`San Antonio, Bexar County. 'I`exa& on this the December 22` 2016.

Domm Kay WK£:::-re{}‘
Beywu' C`oum‘_v Di`_§(r.f`cr Clerk
//_ _ __,-’.-,»" ' _ " , _
By: _#- -_zf-'. i"/t)_’£/ ‘.' / -;_,_»:..-i'=l'z..
l§-`-yniitia J. Apont€, Dcputy

 

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TLE$HMMPM 2 clTs PPS lvi/o / sAcz

Donna Kay Nchinney
Bexar County Distrlcl C|erk
Accepted By: Nikki J Garcia

20160|19682

CAUSE NO.

CORNELIO GARCIA AND § IN FI`HE DlSTRlC`T C()URT OF
(JRISELI}A GARCIA, §
Plain.'if[f. §
§
§

\ § BEXAR CO['N'I`\"`, 'l`F,,\".-&S
§
§
STARSTONE NATI()NAL §
INSURANCE COMPANY AND MILES §
RYAN MCCREADY §

quendrmf.\'. 438TH JUDICIAL DISTRI("I`

 

PLAI N'I`I FFS` ()RIGINAL PETITI()N

 

T() 'l'HI_~`. H()NORABI.[I .lUDGE (`)F SAll) (`OUR'I`:

(.`OM ES N()W" (`ornelio (jaz‘cia and Grise|da Gzn'cia ("Plaintil`i`s"}. and liles this Pi'm'n.'.f`ff.`s'
()i':'gi`mn' !‘c!fi'i'on. complaining of` Starslone .National Insurancc C`olnpan_v and l='\'liles R_vnn
l\/lc(`l‘ead)l [v\liorn will be collectivelyl referred as "Del`cndants"). land |`or cause ol`aclion. l’|aintit`t`
would respectfully shovt this llonorah|e Coun the to]lo\-\-ing:

DISCOVERY (`ONTROL PLAN

Plaintif`i`s intend to conduct discovery under l_,eve| l ot"'l'e_\tas Rule ol`(`ivi| Procedure 19{1.2

and aflirtnativel}' pleas that this suit is governed by the expedited-actions process in Texas

Ru|es ol`(`ivil Proeedure 169.

PARTIES

l'\.J

P|aintit`t`s ("ornelio (iarcia and Griselda Gzlrcia are individuals residing in Bexar (`i)tiitt)»'.

'I`exas.

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3. l)et`endant Starstone Nationa| |nsurance (`onipanv thereinat`ter referred to as "Starstone"`}
is an insurance eon'lpan_\-l engaging in the business ot`insuranee in the State of Texas. Thi-s
defendant may be served n ith process by certified mail. return receipt requested. h_v sen ing
its Attorne_v f`or Service. (`T Corporation 'S)-'sten‘l at 1*)9*) Br)'an St Ste %U _[_)allas. `l‘e_\‘,as
?52[}]-3136.

4. Dct`cndant Miles [{)'aii Mc(`ready (hereinal`ter referred to as "McC`l‘cad_\"`,'l is an individual
who may be served vvith personal process by a process server at his place ol` residence at
505 E. Exchangc Pk\v_v Apt. 3301 A|]en. 'l`esas ?‘3[}()2-1?4? or Wherevcr he mayl be t`ound.

JUR[SDICTION

5. The C`ourt has jurisdiction over this cause ot` action because the amount in controversy is
within the jurisdictional limits ol` the C`ourt. Plaintit`t`s seek only monetary relief ol`
$[{}[).(}(}0.00 or less. including damages ot` an_\ kind. penalties court costs. expenses.
prejudgment interest and attorneyl t`ees.

6. 'l`he C`ourt has jurisdiction over Del`endant Starstone because this defendant is a l`oreign
insurance companyl that engages in the business of` insurance in the State of 'Fexas. and
l"‘|aintil`t`s` causes oi` action arise out ol` this defendants business activities in the State o|`
Texas.

7. The (`ourt hasjurisdiction over [)el`endant Mc(`readv because this defendant is a citizen oi`
the State of`Texas and engages in the business ot`adjusting insurance claims in the State ot`
Te.\as. and Plaintil`l`s` causes of action arise out of` this del"endanl`s business activities in

the State ot` Tesas.

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VENUE
3. Venue is proper in Be.\'at' C`ounty. l`exas. because the insured property is situated in Bexar
County. Texas. TI`-L.\`. C`t\»'. PR./\t". & R|~'..\t. C`()I)!i §[5.{]32.
FACTS
9. Plaintif’l`s are the owners of a 'l`exas l~lomeowners` lnsurance Policy thereinal`tcr referred
to as “the Policy"). which was issued by Starstone.
l(). Plaintil`l`s own the insured pro-perty. which is Specilically' located at l_'-""F Lakeshore Dr.. San

/\ntonio. Texas 782(}|. in Bexar {.`ounty (hereinat`ter referred to as “the Property").

l l . Starstone sold the Polic_v insuring the l)ropett_v to Plaintift`s.
ll ()n or about /\pril ll Z{llo. a hail storm andror windstorm struck Besar L`ounty. 'l`exas.

causing severe damage to homes and businesses throughout the region. including
Plaintit`fs` residence. l’laintit`t`s` root1 sustained extensive hail andfor vt ind damage during
the stot‘n‘l. Water intrusion through the rool` caused significant damage throughout the
entire property including but not limited to. ceilings. walls. and instllation. Plainlil`i`s`
property also sustained substantial structural and exterior damage during the storm.
including but not limited to. the siding_ gutters. do\vnspouts. sot`tit. t`ascia and trim. as well
as extensive damage to the windo\\s. window screens. l`ence. and patio l‘oof`. Al`ter the
storm. Plaintitl`s tiled a claim with their insurance company. Starstone. l`or the damage to
their home caused b_\' the hail storm and!or windstorm.

l3. Plainti'l`t`s submitted a claim to Starstoneagainst the Policy' l`or Rool` Damage. Structural
Damage. Water l)amage_ and Wind Damage and l’ersonal Property Damage sustained as

a result ot`the hail storm andfor windstorm.

l’age 3

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14. Plaintiffs asked that Starstone cover the cost of repairs to the Propcrty pursuant to the
Policy.
iS. Defendant Starstone assigned Mc(`ready as the individual adjuster on the ciaintt `l`he

adjuster assigned to Plaintil`fs` claim were improperl_\_-' trained and failed to perform a
thorough investigation ot` Plaintiffs` claim. On or about june 18_ 2016. Det`endant
Mc(`ready inspected P|aintil`fs` residence. During his inspection. Defendant l\/lct"read_v
misrepresented to Plaintii`fs that their rool`was not damaged by the hailf`\\-'ind storm that
occurred on April ll 2016. l)el`endant Mc(`read_v also represented to Plainti|`fs that their
windows. siding and fences were not damaged by the storm. when it was clear that those
items Were damaged by the storm. McCready-' both underestimated and undervalued the
cost of repairs to the damaged items that he did include in the estimatc. l_lltimatel_v.
McCready-"s estimate did not allow adequate funds to cover thc cost of repairs to all the
damages sustained which failed to include all of Plaintit`i`s` damages noted upon
inspection. Mc(`ready's inadequate investigation of`the claim was relied upon by the other
Defcndants in this action and resulted in Piaintiffs" claim being undervalued and underpaid.
l6. Defendant McCready-' also failed to give Piainti[`t`s an adequate explanation as to why he
undervalued and omitted so many ol`their damages from his report. Although McC ready
was aware ol` Plaintil`l"s reported damaged being covered by the Policy. he made
determination as to the amount ol` Plaintifl`s claim without conducting a thorough and
reasonable inspection of Plaintifl`s` damages Ultimately. Del`endanl Mc(.`ready
determined that the damages were either not covered under the policy andlor undervalued

the damages which are material misrepresentation to Plaintil`|"s regarding their claim.

l’age -l

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l?. Together. Det`endants Starstone and Mc(`ready set about to deny andfor underpay on
properly covered damagesl As a result ot`these defendants unreasonable investigation of
the claim. including not providing full coverage for the damages sustained by P|aintiffi-. as
well as under-scoping the damages during their investigation and thus denying adequate
and sufficient payment to Plaintiffs to repair their homc. Plaintiffsl claim was improperly
adjusted 'l`he mishandling ol` Plaintiffs` claim has also caused a delay in their ability to
fully repair their homc. which has resulted in additional damages 'I`o this date. Plaintiffs
has yet to receive the full payment to which they are entitled under the l’olicy.

|8. As detailed in the paragraphs belovv. Starstone wrongfully denied l’laintiffs` claim l`or
repairs ofthe Propcrt_v. even though the l’olicy provided coverage for losses such as those
suffered by l’laintiffs. l"urtherrnore. Starstone underpaid some ol`l)laintiffs` claim by not
providing full coverage for the damages sustained by I’laintift`s. as well as under-scoping
the damages during its investigationl

l’~). 'I`o date. Starstonecontinues to delay in the payment for the damages to the l’roperty. As
such. Plaintiii`s have not been paid in full for the damages to their l’ropert_\.

20. Defendant Starstonefailed to perform its contractual duties to adequately compensate
Plaintiffs under the terms of the Policy. Specii'ica|ly. it refused to pay the full proceeds of
the Poliey. although due demand was made for proceeds to be paid in an amount sufficient
to cover the damaged property. and all conditions precedent to recovery upon the Policy
had been carried out and accomplished by Plaintiffs. Starstone's conduct constitutes a
breach of the insurance contract between Starstone and Plaintiffs.

2l. Dei`endants Starstone and Mc(`read_v misrepresented to Plainlift`s that the damage to the

Property vt as not covered under the Policy. even though the damage was caused by a

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covered Occurrence. [)efendants Starstone`s and |\/lcCready`s conduct Constitutcs a
violation of the 'l`exas lnsurance C`ode_ Unfair Sett|cment Practiccs. `l"t X. lNS. Cr)Df: §
541.06(}(3}[|].

22. Defendants Starstone and l\/IcCready failed to make an attempt to settle l"laintiffs` claim in
a fair manner. although they were aware of their liability to Plaintifl`s under the f’olic_\'.
Defendants Starstone`s and Mc(`ready`s conduct constitutes a violation ot` the l|`exas
lnsurance Code. Unfair Settlement Pl'actiees. 'l`|-`,X. lt\-`&~'. Ct)l)l-j §541.[}60[a]{2)(.A).

23. Defendants Starstone. and Mc(`ready failed to explain to Plaintiffs the reasons for their
offer of an inadequate settlement. Specifica[|y. Defcndants Starstone . and Mc(`ready
failed to offer Plaintitfs adequate compensation without any explanation why full payment
was not being made. Furthermorc. Defendants did not communicate that any future
settlements or payments would he forthcoming to pay for the entire losses covered under
the Policy. nor did they provide any explanation for the failure to adequately settle
Plaintiff`s` claim. Dcf`endants Slarstone`s and Me(`ready`s conduct is a violation o|` the
Texas lnsurance Code. l_lnfair Sett|cment Practices. `I`lix. hss. Ct)t)l-j §541,060{a)(3).

24. Defendants $tarstone and McCread_\-' failed to affirm or deny coverage of Plaintiffs` claim
within a reasonable time. Specifical|_v_ P|aintiffs did not receive timely indication of
acceptance or t‘e_iection. regarding the full and entire claim. in vt riting from Dcfendants
Starstone and Mc(`ready. Def`endants Starstone`s and Mc(`ready`s conduct constitutes a
Violation of the 'l"exas insurance (`odc. L.|nlair Settlement l’ractices. Tl-`.X. l,\-'s. C`(`)|)|-L
§541.(16()(a}t4).

25. Def`endants Starstone and Mc(.`ready refused to fully compensate l’|ainti'ffs. under the terms
of the Policy. even though [)el`endants Stai‘stone and Mcl`ready failed to conduct a

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reasonable investigation Specilically. Defendants Starstone and McCready performed an
outcome-oriented investigation ofPlaintiffs` claim. which resulted in a biascd. un|"ail'. and
inequitable evaluation of Plaintiff`s` lossesl on the l’roperty. Defendants Starstone`s and
l\/lc(`ready`s conduct constitutes a violation of the Texas lnsurance (_`ode, L'nt`air
Sen!emem Practices. l`lix. |_\'s. t`ooi-i §541.{16{}{:1)(7}.

26. Defendant Starstone failed to meet its obligations under the lean lnsurance L`ode
regarding timely ackno\\-'lcdging P|aintil`l`s` claim. beginning an investigation of l’laintiffs`
claim. and requesting all information reasonably necessary to investigate Plainti|"fs` claim.
within the statutorily mandated time of receiving notice of P|aintiffs` claim. Starstone‘s
conduct constitutes a violation of the `l`e.\'as lnsurance C`ode. Prompt Payment of (`lairns.
Ti:.\'. th. (‘oni-; §542.055.

2`?. Defendant Starstone failed to accept or deny Plaintifl`s` full and entire claim within the
statutorily mandated time of receiving all necessary information Starstone`s conduct
constitutes a violation of`the Texas lnsurance L`ode. Prompt Payment of C`lairns. Tt-.X. lt\'s.
Col_)l-'. §542.056.

28. Defendant Starstone failed to meet its obligations under the Tcxas lnsurance (`ode
regarding payment of claim without delay. Specilically. it has delayed full payment of
Plaintif`fs` claim longer than allowed and_ to date. Plaintil`fs have not received full payment
for their claim. Starstone`s conduct constitutes a violation of the Texas lnsurance C`ode.
Prompt Payment ofClaims. 'l'l-I.\'. le‘. (f`UIJ|-.' §542.(}58.

29. Frorn and after the time Plaintift`s` claim was presented to Defendant Starstone . the liability
of Starstone to pay the full claim in accordance with the terms oi`the Po|icy was reasonably

clear. llowever. Starstone has refused to pay P|aintiffs in ful|. despite there being no basis

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whatsoever on which a reasonable insurance company would have relied to deny the full
payment Starstone`s conduct constitutes a breach of the common law duty of good faith
and fair dealing.

3{]. Defendants Starstone and Mc(`ready knowingly or recklessly made false representations
as described above. as to material facts andfor knowingly concealed all or part of material
information from Piaintiffs.

3l. As a result of [)efendants Starstone`s and Mc(.`ready`s wrongful acts and omissions.
Plaintiff was forced to retain the professional services of the attorneys and law firm who
are representing them with respect to these causes oi`acrion.

32. Plaintiffs` experience is not an isolated case. The acts and omissions Starstone committed
in this case. or similar acts and omissions. occur w ith such frequency that they constitute a
general business practice of Starstone with regard to handling these types of claims.
Starstone`s entire process is unfairly designed to reach favorable outcomes for the company
at the expense oftbe policyholders

CAUSES OF ACTI()N:
(.`.Ausss oF Ac'rlou AGA\NST MILES R\'.AN MCCREAD\'
NoN('o.-lel.lA:\-'("F. wlTH TE.\'AS l.\isuRANCE CODE:
limele SETTLEMENT PR.Ati'l'lct;s

33. Defendant Mc(`read_v`s conduct constitutes multiple violations of the Tcxas lnsurance
Code. Unfait Settlernent Practices, TI_-I,\'. l.\is. C()Dl-_ §541.(16{)(21). A|| violations under this
article arc made actionable by TI-.'X. lNS. C`(ll)l-.' §§~'ll . l 5 l.

34. Defendant l\/Ic(`ready is individually liable for his unfair and deceptive acts. irrespective
ofthe fact he was acting on behalf of Starstone. because he is a "person" as defined by

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TF.X. INS. C`t)l)ti §54 l .UU?,(?.). The term "person" is defined as "any individual_ c.orporation.
association partnership. reciprocal or interinsurance exchange. l.loyds plan. ii'atei'nal
benefit societyt or other legal entity engaged in the business of insuraai`cez including an
agent. broken rrri;`r.r.rfcr or life and health insurance counselor." T}-_X. INS. CtHSt-' §§-l.l .fltl?.i.".l
{_emphasis added). {See also Li`l)ert_t' annual lnsurance {'o, i‘. (.r`tu'i'i'son ( `orm'acto>'s. hir_'.,
966 S.W.Ed 482. 484 ['l"ex. 1998) (holding an insurance company employee to be a
"person" for the purpose of bringing a cause of action against him or her under the Texas
insurance C`ode and subjecting him or her to individual liability)].

35. Defendant Mc(`rcady`s unfair settlement practice. as described abovc. of misrepresenting
to I’laintiff material facts relating to the coverage at issue. constitutes an unfair method of
competition and an unfair and deceptive act or practice in the business of insurance `|`l-i.\'.
Ius. Cor)i-; §541 .oéu(a}( l ).

36. Dcfendant McCready`s and unfair settlement practice. as described above_ of failing to
attempt in good faith to effectuate a prolan fair. and equitable settlement of the claim.
even though liability under the Policy is reasonabl_\_-' clear. constitutes an unfair method of
competition and an unfair and deceptive act or practice in the business of insurance. 'l`|-L,\'.
|.‘~ts. t"or)I-i §541 .U60(a_)(2)tA}.

3?. The unfair settlement practice of Del`endant l\/IcCready_-' as described above_ of failing to
promptly provide Plaintiff with a reasonable explanation of the basis in the Policy. in
relation to the facts or applicable law. for the offer ofa compromise settlement ol"Plaintiffs`
claim. constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business ofinsurance. 'l"lix. |_\ts. L`t)l)I-. §541.060{a1{3 l.

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38. Defendant i\/lc(`ready`s settlement practice. as described above. of failing within a
reasonable time to affirm or deny coverage of the claim to Plaintiff. or to submit a
reservation of rights to Plaintiff. constitutes an unfair method ofcompetitiion and an unfair

and deceptive actor practice in the business ofinsurance. Ti-_x. lt\"s. Col)i£ §;i~'l l .Utitl{a)(4].

'.u
.@

Defendant McL`ready-"s unfair settlement practice. as described above. of refusing to pay
Plaintiffs` claim without conducting a reasonable in\-'estigation. constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business of
insurance. Tl;'X. INS. Col}|~'. §54 l .{)6()(a_}(?_].
C.-\Usi:s or AC.TloN AGAleT S'r.l\ns'l‘on s
40. Defendant Starstone is liable to l)laintiffs for intentional breach of contract. as well as
intentional violations ofthe 'l`exas lnsurance (`ode. and intentional breach ofthe common
law duty of good faith and fair dcaling.
BREA(`H OF CC|NTRACT
41 . Defendant Starstone`s conduct constitutes a breach ofthe insurance contract made between
Starstone and Plaintili`s.
42. Defcndant Starstone`s failure auditor refusal_ as described above. to pay the adequate
compensation as it is obligated to do under the terms of the I’olicy in question and under
the laws of the State of 'l`exast constitutes a breach of Starstone's insurance contract with

Plaintiff.

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NON(‘oi\-JPLl,-\n(tr. wlTH Tt‘..\'As INSURAN(_‘E CODE:
llNF.~\IR SETTLEMENT PRA(`T|(`E$

43. Defendant Starstone`s conduct constitutes multiple violations ofthe Tcxas insurance (`odc.
llnfair Settlement Practices. Tl~lX. lNS. (`t)l)i-j §§¢il .()otlta]. All violations';.rnder this article
are made actionable by TI-.X. INS. Ct)l)l". §§41.[51 . c

44. l)efendant Starstone's unfair settlement practice. as described above. of misrepresenting to
Plaintiff material facts relating to the coverage at isstle. constitutes an unfair method of
competition and an unfair and deceptive act or practice in the business of insurancel '|`l',x.
le. Cot)ii §§41.060(;1_}(1 ).

45. I)efendant Slarstone`s unfair settlement practice. as described above. of failing to attempt
in good faith to effectuate a prompt. fair. and equitable settlement ofthe claim. even though
Starstone's liability under the l’olicy was reasonably elear_ constitutes an unfair method of
competition and an unfair and deceptive act or practice in the business of insurance. 'l`l-_'X.
le. C‘ooi-: §541.(16(i(a}(`2)(A).

46. Defendant Starstone's unfair settlement practice_ as described above. of fai ling to promptly
provide Plaintift`s with a reasonable explanation ofthe basis in the Policy. in relation to the
facts or applicable law. for its offer ol`a compromise settlement ofthe claim. constitutes an
unfair method of competition and an unfair and deceptive act or practice in the business of
insurance. TI-._\'. l'.\'.s. C`UI)I`_-i §541.06[l{a}(3}.

47. [)efendant Starstone's unfair settlement practice. as described abovet of failing within a
reasonable time to affirm or deny coverage of the claim lo Plaintiffs. or to submit a
reservation of rights to Plaintill"s. constitutes an unfair method ofcompctition and an unfair
and deceptive act or practice in the business ofinsurance. 'l"l_X. le. ColJ|-; §54 l .UoO(a)(4].

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48. l)efendant Starstone's unfair settlement practice. as described above. of rel`usin;_J to pay
Plaintif‘fs` claim without conducting a reasonable investigation coltstitute'$\an unfair
method of competition and an unfair and deceptive act or practice in the business of
insurancel 'I`l€><. le. (_"o[)l; §54 l .060(3){?).

Noa'r‘orv-lPLlANCE \\-'ITH TExAs lel_eR..\NCt: CooE:
THF. Pno-.\-IP'I' PA\'MENT or CL.,\z.-ns

49. Defendant Starstone`s conduct constitutes multiple violations ofthe Texas lnsurance (f`ode.
Prornpt Paymeol of C`lailtis. All violations made under this article are made actionable b_v
Tlix. livs. Col)e §542.060.

5(}. Defendant Starstone`s failure to acknowledge receipt of P|aintiffs` claim. commence
investigation ofthe claim. and request from P|aintiffall items. statements and forms that
it reasonably believed would be required within the applicable time constraints as
described above. constitutes a non-prompt payment ofc|aims and a vioialion of `l`I-`_.\'. IN.‘~i.
Ct')i)l_-; §542.055.

5 l. Defendant Starstonc's failure to notify P|aintiff in writingJ of its acceptance or rejection of
the claim within the applicable time constraints constitutes a non-prt_)mpt payment of the
elaim. 'I`l-'..‘);. le, t`ol)li §542.056.

52. Defendant Starstone`s delay ofthe payment ofPlaintiffs` claim following its receipt o|`al|
items. statements and forms reasonably requested and required longer than the amount o l`
time provided for. as described above. constitutes a non-prompt payment of the claim.

Trz_\'. INs. (.'ool_-: §542.053.

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BREACH or 'rHE Dt:‘rv or Gooo FAlTn Aao FAm I)i:.s LING
Defendant Starstone's conduct constitutes a breach ofthe common law duty of good faith
and fair dealing owed to insureds in insurance contracts.
Defendant Starstone‘s failure. as described above. to adequately and reasonably investigate
and evaluate Plainti |"fs` claim although. at that time. Starstone knew or should have known
by the exercise of reasonable diligence that its liability was reasonably clcar. constitutes a
breach ofthe duty of good faith and fair dealing.
CAI]SES ()F A("I`l()l"l AGAINST ALL DEFEND.-\NTS
FR.-tllo
Defcndants Starstone and l\/lcCready are liable to Plaintiff for common lawl fraud
ljach and every one o I`the representations as described above. concerned material facts for
the reason that absent such representations Plaintil`fs would not have acted as they did.
and which l)efendants Starstone and Mct`ready knew were false or made recklessly
without any knowledge oftheir truth as a positive assertion.
Thc statements were made with the intention that they should be acted upon by Plaintiffs.
who in turn acted in reliance upon the st:»,ltementt~;q thereby causing l’laintiil`s to suffer injury
and constituting common law fraud.
(.`ONSP|RA(`Y 'fU COMMIT FRA[‘[)
Defendants Starstooe and McCready are liable to l"`laintil`l`s for conspiracy to commit fraud.
Det`endants Starstone and McCready were members of a combination of two or more
persons whose object was to accomplish an unlawful purpose or a lawful purpose by

unlawful means. In reaching a meeting of the minds regarding the course of action to be

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taken against Plaintiii`s. [)efendants Starstone and l\/lcCready committed an unlawful. overt
act to further the object or course of action. Plaintiffs suffered injury as a proximate l'esult.
KNOWLEI)GE

59. Each of the acts described above. together and singularly was done “|<niowring|y." as that
term is used in the 'l`exas lnsurance (`ode. and was a producing cause of PlainLi_j`fs` damages
described herein.

[)AMAGES

60. Plaintiffs would show that all of the aforementioned acts_. taken together or singulariy.
constitute the producing causes ofthe damages sustained by PlaintilTs.

6]. /\s previously mentioned_ the damages caused by the hail storm auditor windstorm have not
been properly addressed or repaired in the months since the storm. causing further damages
to the l’roperty. and causing undue hardship and burden to l’laintiffs. Thcsc damages are
a direct result of Defendant Starstone°s and Mc(`ready's mishandling of Plaintiffs` claim
in violation ofthe laws set forth above.

62. For breach ofcontract. Plaintiffs are entitled to regain the benefit oftheir bargain. which is
the amount ol`their claim. together w ith attorney`s fees.

63. For noncompliance \\ ith the `l`e)tas lnsurance (`ode. Unfair Settlement Practices. l’lainti'ffs
are entitled to actual damages which include the loss of the benetits that should have been
paid pursuant to the policy. mental anguish. court costs_ and attorney's fees. l"or knowing
conduct of the acts described above. Plaintift`s ask for three times their actual damages
Tl-;)<. th. (.‘onl-; §541.152.

64. For noncompliance vt ith fcan lnsurance (_`ode. l’rompt Payment ol`(?laims. l’laintiffs are

entitled to the amount of their claim. as well as eighteen (18) percent interest per annum

Page l~l

Case Number: 2016(3|19682 Document Type: ENT|RE F|LE Page 14 ot`23

Case 5:16-cv-01311-XR Document 1-2 Filed 12/29/16 Page 16 of 39

on the amount of such claim as damagesn together with attorney's fecs. T|~`;X. le. C`tJl`)l-_'
§542.06{).

65. For breach of the common law duty of good faith and fair dealing. Plaintif[`s are entitled to
compensatory damages. including all forms of loss resulting from the insurer's breach of
duty. such as additional costs. economic hardship. losses due to nonpaymclré‘ofthc amount
the insurer owcd. exemplary damagesq and damages for emotional distress

66. l~`or fraud. Plaintiffs arc entitled to recover actual damages and exemplary damages for
knowingly fraudulent and malicious representations along with attorneys fees. interest.
and court costs.

6?. For the prosecution and collection of this claim. Plainti'ffs have been compelled to engage
the services of the below signed attorneys Therefore. l’iaintiffs are entitled to recover a
sum for the reasonable and necessary services of Plaintiffs` attorneys in thc preparation
and trial of this action. including any appeals to the Court of /\ppeals and.for the Supreme
C iurt of Texas.

PRAYER

WHERF_FOR]:`-. PREM]SES (`()NS]DERED. Plaintiffs pray that upon trial hereof said
l’laintift`s have and recover such sums as would reasonably and justlyl compensate them in
accordance with the rules of law and procedure. as to actual damages treble damages under the
'fesas lnsurance Code. and all punitive and exemplary damages as may be found. |n addition.
Plaintiffs request the award of attorney`s fees for the trial and any appeal ofthis ease. |`or all costs
of Court on their behalf expended for prejudgment and postjudgment interest as allow ed by law.
and for any other and further relief. either at law or in et]uit_v. to which they may show themselves

justly entitled

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Case Number.' 2016€|19682 Document Type_' EN`|'IRE F|LE Pag¢ |5 o-|`E_t

Case 5:16-cv-01311-XR Document 1-2 Filed 12/29/16 Page 17 of 39

Respcctl`ull_\ Suhmitted.

Cristoba| l\/l. Galindo. P.("

.7.&~’~

""-'*'-n“_

 

Cl'istobal M. Galindo

'[`exas Bal' No. 24026128

4151 Southvvest l-`ree\t-'a_v. Suite 602
l'louston. 'l`e.\;as ??027

'I`: 713.223-303() f F: ';'13.238-3003
l'§-Mai|: Storm(`ase"c__r_`§galintlola\\-'.eom
ATTORNEY FOR PLAINT[FF

Page lo

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Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 18 ot 39

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Case Number: 2016-01-19682 2“‘6""‘“""” mm
CORNEUO GARC|A ET AL
\'S- iN THE Disrniot count
STARSTONE NAT|ONAL |NSURANCE COMPANY ET 438tii JUD|CIAL D|STRiCT
[Nete:attached Doeumerit day Contain Additionai Li'tigants.]i BEXAR COUNTYTEXAS
ClTAT|ON
"THE STATE OF TEXAS"

Directecl To: STARSTONE NAT|ONAL |NSURANCE COMPANY

BY SERV|NG |TS_REG|STERED AGENT, CT CORPORAT|ON SYSTEM

"You have been sued You may employ an attorney. lt you or your attorney do not tile a written answer with the clerk
who issued this citation by 10:00 a.m, on the Monday next following the expiration of twenty days alter you were
served this citation and petition a default judgment may be taken against You." Said petition was filed on the iith
day of November, 2016.

lSSUED UNDER MY HAND AND SEAL OF SA|D COURT ON TH|S lSTH DAY OF NOVEMBER A.D,, 2016.

 

PETITION

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AiionNE\/Fon PLAiNnFF 1§}1{3\§, §lmy §S~ilcgwer
4151 souniwssi FwY 602 ` ueva’ m 6

Sa.n Antoriio, Texas 78205

 

HOUSTON, TX 7702':’-?312
Byi ®€61"£1 Ca?ltfl., Depui;y

OFFICER'S RETURN

 

 

 

 

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defendantl_____ "_ in person on the _ m_ at

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because Fees: Badge!PPS #Z _

 

 

Date certification expires:

 

County_ Texas

 

By;
OR: VERIFICATION OF RETURN {If not served by a peace officeri SNORN TO this

 

 

 

NUTARY PUB_IC, STATE OF TEXAS

 

 

 

OR: Hy name is_ , my date of birth is . and my
address is , {County}_
I declare under penalty of perjury that the foregoing is true and correct. Executed in
__ County, State of Taxas. on the day of _o"__. 20
Case Number: 2016()|19682 Documerit Type. ENTlRE F|LE Pgl§¢ ]? Ui`j__\
Deciarant

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Donna Kay Nchlnriey -

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’°`Ccep‘ed B*‘ my B°te"° “ case Number: 2015-cz-1see2 ”tt"=“-“'it? S‘°ttt‘
CORNEL|O GARC|A ETAL
VS- |N THE D|STRFC`[ COURT
STARSTONE NATIONAL lNSURANCE COMPANY ET 438th JUD!CIAL DtSTRlCi`-
(Note.nttached Dooulrreni: Hay Contain Addi'ri'onal Litigants } BEXAR COUN‘]"Y' TEXAS
ClTATlON
"THE STATE OF TEXAS"

Difected TO.' STARSTONE NATIONAL INSURANCE COMPANY

BY SERV!NG iTS REG|STERED AGENT_. CT CORPORAT]ON SYSTEM

"You have been sued You may employ an attorney li you or your attorney do not tile a written answer with the clerk
who issued this citation by 10:00 a.m_ on the lvlonday next following the expiration of twenty days atte.r you were
served this citation and petition a detath judgment may be taken against you." Said petition was tiled on the 11th

day of November, 2016.
lSSUED UNDER MY HAND AND SEAL OF SA|D COURT ON THiS 15TH DAY OF NOVEMBER A.D., 2016.

  
 

 

PETITION
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- --_ _\ char Cotmty Dtstlict C]czk
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4151500erEerst02 ' 10 ' ut"”`a’ “““‘~`
. Sari Antortio, Texas 78205

Houstoiv, rx 77027-?312
BY! {D€GT£I C£lnt'f{, Deputy

OFFICER ' S RETURN

 

 

 

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detenderit, __ in person on the ________ _ ________ at
__ o‘ciock __M_ et: ____ _ ____ _ or (` 'i not executed
because ____ __ __ ____ Fees:___ _________ Badge!PPS # ____

Date certification expires: ___
____County. Texas

By: ___u . m_
OR! VERIFICATIGN GF RETURN {Iic riot served by a peace otticer) SWORN TO this

 

 

 

NOT!\RY PUBLIC, STATE OF TEXAS

 

ORI ltv name is__ _________ ____ __ . my date of birth is , ana my

address is ___ __ _

_ _ . _ (County).
I dec`lare under penalty of perjury that the foregoing is true and correct Executed in

 

 

__County, State of Texas, orr the day of ___ , 20 .
Case Number'. 201BCl19682 DocumentType: ENT|RE F|LE page 13 L_,|-'j_z
Deci arant

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Case 5:16-cv-01311-XR Document 1-2 Filed 12/29/16 Page 20 of 39

CAUSE NO. 2016-€1-19682

CO RNELID GARCIA AND

GREISELDA GARCIA
VS. IN THE 438TH JUDICIAL DISTRICT COURT OF BEXAR COUNTY,

TEXAS

STARSTONE NATIONAL
INSURANCE COMPANY AND
MILES RYAN MCCREADY

AFF]DA\'IT t‘)l" SER\"I(`.E

across ME, the undersigned aetnarny, G_L§LQ_» CQU_V}_@_|_|_Y (SEnvER;-, personally appeared en this day and dated
under oath as follows:

l. My name is GUV C. COI'TI'\€"y [SERVER). l am over the age of eighteen (18), 1 arn not
a party to this case and have no interest tn its outcome lam in all vvays competent to make this affidavit
and this affidavit is based on personal knowledge The facts stated herein are true and corroct. My business

 

address '5 2701 W. isih,Ptanb, rx?sois
(sERvER's nooREss) ` _`
2 on ///2~9_//6 ronrei AT __ /D. J’_D (,é_{> n rrtMEi

 

CITATION PLAINTIFF' S ORIGINAL PETITION Can'ie to hand _f'or delivery to STARS`|'ONE NATIONAL
INSURANCE COOMPANY BY SER\/ING lTS REGlSTERED AGENT CT CORPORAT[ON SYSTEM

3. on ///_'ZZ/C___ (oATE)nT /L: /5/ t/)MrrtME) rhe above named

documents vvere delivered to: STARSTONE NATLONAL INSURANCE COOMPANY BY SERV]NG ITS
REGISTERED AGENT CT CORPORATION SYSTEM by delivering to

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(NAME AND TITLE), authorized agent for service @

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)bv coKPoRA‘re service

 

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Guy C. Connelly

AFFIANT PRINTED NAME
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Case 5:16-cv-01311-XR Document 1-2 Filed 12/29/16 Page 21 of 39

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Case Number: 2016-01~19682 2“‘5‘;"96“2 5“““‘“*`
CORNEL|O GARC|A ET AL
vs' lN THE DlSTRlCT COURT
STARSTONE NATIONAL lNSURANCE COMPANY ET 438th JUDIC'{AL D|STR\CT
[Note_'AttaCth Dncl.rmerif. |"|a}.il Contairl Additiuna`| Litigants ) BEXAR COUNW`TEXAS
ClTATION
"THE STATE OF TEXAS"

Directed To: M|LES RYAN MCCREADY

"You have been sued You may employ an attorney. |f you or your attorney do nottile a written answer with the clerk
who issued this citation by 10: 00 a m. on the Monday next following the expiration of twenty days after you were
served this citation and petition a default judgment may be taken against you. Said petition was t led on the iith
day of November, 2016

|SSUED UNDER MY HAND AND SEAL OF SA|D COURT ON THlS 15TH DAY OF NOVEMBER A.D.. 2016.

 

PETITION

D nn M°- inn
CRiSTOBALMGALiNDO Bo_ Ca lia§. t . tKCICI_k eY
ATTORNEY FOR PLAierFF ex‘” °Lm'y 13 m

101 W. Nueva, Suite 217

4151 SOUTHWEST FWY 502 Sal‘l Antonio, Texas 78205

HOUSTON, TX ??02?-?312

 

By: ®e§ra Carrtu, oepdty

OFFICER' S RETURN

 

 

 

 

I received this citation on __ at _ _______o'ctock ___M. and;( ) executed
it by de1ivering a copy of the citation with the date of de1ivery endorsed on it to the
defendant. in person on the at

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Date certification expires;

 

County. Texas

 

By: n _h .n.
OR: VERIFICATION OF RETURN (If not served by a peace officer] SWORN TO this

 

 

 

NOTARY PUBLIC, STATE OF TEXAS

 

 

ORJ Hy name 15 __ , my date of birth is___________________. end my
address is __ (County}.
I dec1are under penaity of perjury that the foregoing is true and correot. Executed in
County. State of Texas on the day of . 20
Case Number: 2016€|19682 Doctiment Type.‘ ENTlRE F|LE P;l¢__re 20 oi`l_§

 

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CORNEL|O GARC|A ET AL
VS- lN THE DlSTRiCT COURT
STARSTONE NAT|ONAL |NSURANCE COMPANY ET 438th JUD£CI`AL D.iSTRl-CT
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C|TAT|ON
"THE STATE OF TEXAS"

Directed 1702 MILES R‘(AN MCCREADY

"You have been sued. You may employ an attorneyl |f you or your attorney do not file a written answer with the clerk
who issued this citation by 10100 a,rn. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a default judgment may be taken against you." Said petition was filed on the iith
day of November, 2016.

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PETITICN

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By : ®e§ra Carrtu, deputy

OFFICER ' S RETURN

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NOTARY PUB|_IC. ST`ATE DF TEXAS

 

 

 

 

 

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address is _ _{Countyi
I deciare under penaity of perjury that the foregoing is true and cortes t. executed in
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Case 5:16-cv-01311-XR Document 1-2 Filed 12/29/16 Page 23 of 39

CAUSE NO. 20 16-CI-19682

CORNELIO GARCIA AND
GREISELDA GARCIA

vs' IN THE 438TH JUDICIAL DISTRICT COURT OF BEXAR COUNTY,

sTARs'roNE NA'n:oNAL TEXAS

INSURANCE CCMPAN¥ AND
MILES RYAN MCCREADY

AF£F:()AVIT OF SERV]CE '
BEFORE ME, the undersigned authorib/, T\Uv-c& __ i.lBLAS (SERVER}, personally appeared on this day and stated

under oath as follows:
1. My name is @‘»-< {"'(~.Ll€§$ (SERVER). lam over the age of eighteen (18), I ann not
ome. I am in ail ways competent to make this afhdavit

a party to this case, and have’ n'o interest in its outc
and this affidavit is based on personal knowtedge. The facts stated herein are true and correct My business

addressis: jfk/0 dch/§ fdc-ll )\F. _/"4_' {'<:MQ\:,¢ .,_]_:S{ 7§'@'70
{SERVER’S ADDRESS) f 7

/'¢',13~*¢'_6 (DATE) AT___ {-/ :OC> t/> ) M (TIME)
elivery to MILES RYAN MCCREADY.

 

2. ON
CH`ATION, PLAINTIFF'S ORIGINAL PETITION Car‘ne to hand Fot' d

3. oN Z/n£&»[ée (DATE) AT ;,'l : 915 tP) M (TIME) - ihe above named
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Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 24 of 39

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|l DONNA KAY MGK|NNEY. BEXAR COUNTY D|S`|'RFCT
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December 22, 2016

IJONNA KAY Msl<lNNEY
BRx_AR COUNTY, T__p;x.As

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Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 25 of 39

IN THE UNITED STATES DISTR]CT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

CORNELIO GARCIA AND
GRISELDA GARCIA,
Plaintiffs,

CIVIL ACTION NO._
v. .IURY DEMANDED
STARST()NE NATIONAL
INSURANCE COMPANY AN])
MlLES RYAN MCCREADY,
Defendants.

GO¢GO'JEUJW'JW¢W>W'D¢OBW§CGJ¢M

 

VER[FICATION

 

THE STA'I`Hr
OI~" '|`EXAS

BEFORE ME_. the undersigned Notary Public in and t`or die State ot`Texas. on this
day personally appeared l\/Iikcil A. West_. known to me to be the person whose name is
subscribed hereto_. who being first duly sworn in the manner provided by lavv. on oath stated
as follows:

"My name is Mikell A. Wcst. l ani one ofthe Attomeys ot`Rccord t`or Dct`ciidants
Stai'stone National lnsurance Cornpany and Miles Ryan McC ready in the above-referenced
lawsuit am over the age of 18 years._ am competent and authorized to testify herein and
have personal knowledge ol`t]ie facts herein.

“Attached hereto as ‘Exliibit l` is a true and correct copy of Defendant Starstonc
National lnsurance Company`s Original Answcr filed with the char County District Clerk

in Cause No. 2016CII9682 on Deceniber 22_. 20i6.

Case 5:16-cv-01311-XR Document 1-2 Filed 12/29/16 Page 26 of 39

""Attached hereto as "Exhibit 2’ is a true and correct copy of Def`endant Starstone
National lnsurance Company"s Demand for Jury filed with the Bexar County District Clerk
in Cause No. 2016(`1]9682 on Decernber 221 2{}l6.

“'Attached hereto as 'Exhibit 3` is a true and correct copy of Def`endant Miles Ryan
McCready’s Original Answer filed With the Bexar County Distt'ict Clerk in Cause No.
2016€119682 on Deeernber 28, 20]6.

“Attac-hed hereto as ‘Exhibit 4’ is a true and correct copy ot` Defendant Miles Ryan
McCready`s Demand for .lury filed with the Bexar County District Clerk in Canse No.
2016(:`.119682 on December 28. 20]6.

"These factual statements are within my personal knowledge and are true and
correct."`

.» ry
Further affiant sayeth not.

r"

Mikell A. West

 

SUBSCRIBED AN`D SWORN TO BEFORE ME by Mikell A. West on this the

lil_ day of December, 2016, to certify which Witness my hand and official seal.

!"`\ t . jr ‘f __ _

l_ l,L,-r" lVl/w '°`t l,»i..-l,,t_.» ti lJI-’li/{ 0 L/f/\w
Notary Public-. in and for the

State of Texas

 

DEBRA ANN GONGDRA

My Gommission Explres
Fsbruary 13. 2019

 

Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 27 of 39
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CAUSE NO. 2016€11968?.

C(}RNF,I,IO GARCIA AND lN THE DISTRIC'I` COURT
GRISELDA GARCIA
VS. 438'[`" JUD{CIAL DISTRICT

STARSTONF NATIONAL INSLIRANC`E
COMPANY AND MILES RYAN
MCCREADY

TJ&W%LO=‘£/"-O-'.¢*’J=V?.'ff-

BEXAR t'_`OUNTYq 'I`EXAS

DEFENDANT STARSTONE NATIONAL lNSURANCE COMPANY’S
ORIGINAL ANSWER AND PLEA IN ABATEMENT

'l`() TllE HONORABI;I", JUI)GH OF SAlD COURT:

COMI~§S NOW. STARSTONE NA'l`lONAL INSURANCE COMPANY. Defendant in the
above-styled and numbered cause. and make and files this. its Original Answer in reply to
Plaintifl`s` Petition. and for such answer and plea in abatement would respectfully show unto the
Court the lollowil‘tg:

I.

Pursuanl to Rule 92 of the Texas Rulcs of Civil Procedure, Defendant generally denies the

allegations contained within Plaiiitiffs` Original Petitioli and demand strict proof thereon by a

preponderance of the credible e\-'idence in accordance with the laws ol` the State of Texas.

')

o..

Pleading further and without waiver of` the aboveq Det`endant denies the occurrence ot`all
conditions precedent to Piaintit`t`s` claim. Without limiting the foregoing Defendant denies that

the following has occurred:

a. that there has been full compliance with all terms and conditions of the
insurance policy at issue as required prior to Plaintit`f`s bringing suil,
including but not limited to. the requirement that payment is only due after
agreement is reached on the amount of loss or an appraisal award has been
made; and

EXHIBIT

i l

Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 28 of 39

b. that I’Iaintif`t`s have provided the required written notice under Section
541.154 of the Texas lnsurance Code at least 60 days prior to filing suit_

3.

Pleading further and without waiver of the above. Def`endant requests that this Court
compel mediation pursuant to TF.xAs INSURANC'E (`oDE § 541.161(a). This mediation is required
under the Texas lnsurance Code and Texas Business & Commerce Code. TF.X. INS. CODE
§541.161(b}.

4.
PLEA IN ABATEMENT

A. In Plaintif`f`s` ()riginal Petition, Plaintif`l`s have alleged causes ot` action pursuant to
Chapter 541 oi` the Texas lnsurance Code. Chapter 541. 154 provides, in pertinent part, "`[a] person
seeking damages in an action against another person under this subchapter must provide written
notice to the other person nol later than the 61“ day before the date the action is filed."' 'I`E.x. INS.
CODE § 541.154 (Vernon Supp. 2005). Additionaliy. Chapter 541.155 of the Texas lnsurance
Code provides that the Court shall abate the action. if the Court finds that the claimant failed to
provide the requisite notice. TEX. INS. CODE § 541.155 tVernon Supp 20()5).

B. Def`cndant has not received adequate written notice in compliance with the
requirements o f` the Texas lnsurance Code.

C. Accordingly. [)efendant is entitled to an abatement of these proceedings pursuant

to Chapter 541 of the Texas lnsurance Code.

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Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 29 of 39

5.

Additionaily. the insurance policy pertaining to the claims asserted by the Plaintif`t`s include
a specific “Appraisal" clause which sets forth the procedure in the event of a disagreement of` the
amount of the loss. Speeifically. the policy requires that. upon written request. the property must
bc appraised by each party`s own disinterested appraiser. In the event of a disagreement in the
appraisal. the differences arc submitted to an umpire for determination Compliance with the
appraisal process is a condition precedent to any suit against Dcfendant insurance company.
Def`endant insurance company was deprived ot`thc opportunity to invoke the appraisal clause prior
to suit. Furthcr. the lawsuit prevented Del`endant insurance company from attempting to resolve
the alleged problems reaching an impasse or invoking the appraisal clause. it` necessary
Dcfendant insurance company reserves the contractual right to invoke this clause and that the
property be appraised according to the terms of the applicable insurance policy if` the parties reach
an impasse. Def`endant insurance company has not waived and is not waiving this provision and
may assert it in the future

6.

Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Def`endant hereby gives
actual notice to Plainti l`t`s that any and all documents and materials produced in response to written
discovery may be used as evidence in this case; and, that any such materials may be used as
evidence against the party producing the document at any pretrial proceeding andfor at the trial of
this matter without the necessity of authenticating the document andr'or materials produced in
discovery.

WHERBFORH. PREMISF.S CONSIDERF.D. Det`endant prays that upon final hearing

hcreof_ that Plaintif`l`s not recover against Defendant and that Defendant go hence with its costs

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Case 5:16-cv-01311-XR Document 1-2 Filed 12/29/16 Page 30 of 39

without day and l"or such other and further relicf. at law or in equity. to which Defendant may

justly show itself entitled to receive.

liARC!A. ['t‘lRNl:`[,It i_ et alf.SNIL' - [] (Jr\ & F|.-\ - SNI{` - PAt ilI -l t IF 6

Respectt`ully submitted.

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Ar'roRNEvs ron DEFENDANT STARSTONF.
NATloNAL INSURANCE CoMPANY

Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 31 of 39

CERTIFICATE OF SERVICE

 

I. Thonias I-`. Nyc. hereby certify that on the §'_ -_"'}`day of Dccemher. 2016. a true and
correct copy of the above and foregoing document was served upon the following counsel as
indicated:

Am:n':ieys for Plal'm‘fff.`§‘
C`ristohal M. Galindo

Cristobal M. Galindo. P.C.
iimail: stormcase’n 'gal i ndo l a \_\_._§t_igl

VIA E-FILING

'\-_.|

'l`homas F. Nye

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Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 32 of 39

 

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BIII"t)RF .\lI€. the undersigned !\`otar}' l’ublic in and l`or the Sta.tte ol` `l`cxas. on this da_\

personall_\l appeared l{. innis .\'iiller. knoch to me to be the person whose name is subscribed

hcrcto. \tho being |irsl dul_\ sworn in the manner provided b_t iu\\. on oath stated as l`ollo\\s:

".\1_\ name is R. 'l`ra'. is .\liller. l am an .-\uthoriz.ed .\genl for Starstone ?\'ational lnsurance
(`ompan_\. am o\ er the age nl` 18 _vears. am competent and authorized to testify herein and hate
personal knowledge ot`the t`acts hereinl l have read Paragraph »lB ot` Del`endant`s Ans\ver and it
is true and correct."

l"urthcr al`i'lant sn_\'cth not.

z ' .‘ ltv
" .'-" .- ';'Zz"‘/c/"

R. Tra\'is Miller. .-\uthori¢cd A._t_tent for
Starstone Natiunal lnsurance (_‘ompun}

:~`\‘v\'( IRN lU .\.\'[) 51 'B!~iL`RlBl-ll) 10 Biil~`(JRl;` Ml:`. on this the .f*‘?,f" day ol` l)eeemher.

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F|LEL) Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 33 of 39
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accepted Eiv La:'ry Bote||o Jr

C`AUSF. NO. 2016€[] 9682

CORNELIO GARC|A AND GRISI`;I.DA IN THE DISTRICT COURT ()I~`
GARCIA
VS. BEXAR COUNTY. TEXAS

S'I`ARSTONF. NA'[`!ONAI. INSURANCE
C(`)MPANY AND MILES RYAN

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MCCREADY §

438'[`}'1 JUD{CIAL DISTRICT

DEFENDANT'S DEMAND FOR JURY

COMF.S NOW. S'[`ARST()NE NATI()NAL INSURANCE COMPANY. Det`endant in the
above-referenced catlse. and demands a trial by jury and hereby deposits its Forty Doilars ($40}jury
fee.

Respectfully submitted

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ATToRNF.Ys ron DEFt-;NDANT STARsToNE
NaTlONAl. INSURANCE CoMPANY

EXH|BIT

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Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 34 of 39

CER'I`IFICATE OF SERVICI‘_I

1_ Thomas l~`. Nye. hereby certify that on the r'~ § dlbay of`Decembcr. 2016. a true and correct
copy ol`the above and foregoing document was served upon the following counsel as indicated:

A!lor’ne 1 or Pfoimi '.i'

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Cristoba| M. Ga!indo. P.C.

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VIA E-FILING

p

thomas F. Nye'

 

UARL`I:’\. L'{.`|RNH|.|(J. et al_r!iiNlt' - Jl') !\`N|L' - P.~\l`¢l 2 UF 2

Fll_Eo Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 35 of 39
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Donna l<_ay Nlr;l<lr"lney

Be->'ar Counly Dlstriet C|erl<

.'\eeepted By Larry Bota|lo Jr

cause No. 2016€!19682

CORN 1~:1.10 GARCIA AND IN Ti 113 DlsTRICT COURT
oalsst.D/-\ GARCIA

vs 433"`** JUDICIAL Dts'rRICT
s'rAasToNn NA':'IoN./\t. mSURANCE
coMPANY AND Mn.ss RYAN

MCCREADY BEXAR COUN'I`Y, TEXAS

FAWZU'/¢W¢¢Cf-CO§W-¢O'&

DEFENDANT MILES RYAN MCCREADY’S
ORIGINAL ANSWER

TO Tl ll;` HONORABLE JUDGE OF SAID COURT:
COMES NOW. MILES RYAN MCCREADY, Dct`endant in thc above-styled and

numbered cause1 and make and files this, his Original Answer in reply lo Plaintit`t`s’ Petition, and
for such answer would respectfully show unto the Court the following:
l.
Pursuant to Rule 92 of the Texas Rnles of Civil Procedure, Defendant generally denies the
allegations contained within Plaintit’t`s` Original Petition and demand strict proof thereon by a

preponderance of the credible evidence in accordance with the laws of the State ot` 'Fexas.

2.

Pleading further and without waiver of the above, Def`endant denies the occurrence of` all
conditions precedent to Plaintit`t`s` claim. Without limiting the foregoing Def`endant denies that
the following has occurrcd:

a. that there has been full compliance with all terms and conditions of the
insurance policy at issue as required prior to Plaintiffs bringing suit,
including, but not limited to, the requirement that payment is only due alter

agreement is reached on the amount of loss or an appraisal award has been
made; and

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Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 36 of 39

b. that Plaintil`fs have provided the required written notice under Section
541.154 ot"the Texas lnsurance Code at least 60 days prior to filing suit.

3.

Pleading further and without waiver of the above, Det`endant requests that this Court
compel mediation pursuant to Tl-;XAS lNSURANCE CODE § 541.161(a). This mediation is required
under the 'I`exas lnsurance Code and Texas Business & Commerce Code. TEX. INS. CODE
§54l.l6l(b).

4.

Pursuant to Rule 193.7 of the Texas Rules ol` Civil Procedure, Det`endant hereby gives
actual notice to Plaintit`t`that any and all documents and materials produced in response to written
discovery may be used as evidence in this case; and. that any such materials may be used as
evidence against the party producing the document at any pretrial proceeding and!or at the trial oi`
this matter without the necessity of authenticating the document and¢’or materials produced in

d i scovery.

WIIEREFORE, PREMISES CONSIDERED, Def`endant prays that upon final hearing
hereoi`, that Plaintii`Fs not recover against Defendant and that Defendant go hence with its costs
without day and t`or such other and further relief`, at law or in cquity, to which Defendant may

justly show itself entitled to receive.

O.“\R(,'h\. (`.`C}RNELIO. cl alr'SN|C - D OA - MCCREAD ~ i‘aGl;' 2 tJF J

Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 37 of 39

Respecti`ully submitted,

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ATToRNEYs ron DEFt:Nr)ANT MILES RvAN
MCCREADY

CERTIFICATE OF SERVICE

l, 'l`homas F. Nye, hereby certify that on the 23 P" day ol` December, 2016, a true and
correct copy ol" the above and foregoing document was served upon the following counsel as
indicated:

A.'!ornezs for P!ar'ntizzs
Cristobal M. Galindo

C`.ristobal M. Galindo, P,C.
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VIA E-FILING

 

view z- ;"i»z’“---

't`homas F. Nyc

GARC`]A. C`()RNEL|O. et a|»’SN-lC - ll t.lA - MCCREAD - PAGF.3 ¢JFJ

  

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Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 38 of 39

CAUSE NO. 2016€]19682

CORNELIO GARClA AND GRISELDA
GARCIA

VS.
STARSTONE NATIONAL INSURANCE

COMPANY AND MILES RYAN
MCCREADY

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§

IN THE DISTRICT COURT OF

BEXAR COUNTY, TEXAS

438TH JUDICIAL DISTRICT

DEFENDANT’S DEMAND FOR JURY

COMES NOW, MILE.S RYAN MCCREADY, Defendant in the above-referenced cause, and

demands a trial by jury. The jury fee has previously been paid by the Co-Defendant.

Respectfully submitted,

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At'ronnavs ron DEFENDANT MtLEs RYAN
MCCREADY

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Case 5:16-cv-Ol311-XR Document 1-2 Filed 12/29/16 Page 39 of 39

_C_ERTIFICATE OF SERVICE

I, Thomas F. Nye, hereby certify that on the Q~SD` day of Decernber, 2016, a true and correct
copy of the above and foregoing document was served upon the following counsel as indicated:

At‘tome or Plar`m'i s

Cristobai M. Galindo

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Thornas F. Nye '

GARCIA. CORNEL[O, ct al.!SNIC - JD - MI]_.ES MC`CREADY - PAG£ 2 OF 2

